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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case

                                              United States District Court
                                      Eastern District of California

         UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                    v.                                           (For Offenses Committed On or After November 1, 1987)
        DIANA HERNANDEZ-GONZALEZ                                 Case Number: 2:11CR00096

                                                                 HAYES GABLE, ESQ.
                                                                 Defendant’s Attorney
THE DEFENDANT:

[U]    pleaded guilty to count: 15 of the Indictment .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                             Date Offense            Count
Title & Section          Nature of Offense                                   Concluded               Number
21 USC 843(b)            USE OF A COMMUNICATION FACILITY 11/12/2010          TO                      15
                         FACILITATE A DRUG TRAFFICKING
                         OFFENSE (Class E Felony)



       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


[U]    Remaining counts as to this defendant are dismissed on motion of the United States.


                       [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                                                   4/8/2014
                                                         Date of Imposition of Judgment

                                                         /s/ John A. Mendez
                                                         Signature of Judicial Officer

                                                         JOHN A. MENDEZ, United States District Judge
                                                         Name & Title of Judicial Officer

                                                         4/9/2014
                                                         Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:      2:11CR00096                                              Judgment - Page 2 of 6
DEFENDANT:        DIANA HERNANDEZ-GONZALEZ

                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of ONE YEAR AND ONE DAY. .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in a Southern California facility, but only insofar
        as this accords with security classification and space availability.


[]      The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at      on .
        [ ] as notified by the United States Marshal.


[U]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [U] before 2:00 P.M. on 6/12/2014 .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                        RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to
at                                           , with a certified copy of this judgment.



                                                                                   UNITED STATES MARSHAL


                                                                         By
                                                                                          Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:      2:11CR00096                                              Judgment - Page 3 of 6
DEFENDANT:        DIANA HERNANDEZ-GONZALEZ

                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 12 MONTHS .

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, not to exceed four (4) drug tests per month.
[]      The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
        of future substance abuse. (Check, if applicable.)
[U]     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
        applicable.)
[U]     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[]      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
        16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
        agency in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
[]      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
1)  the defendant shall not leave the judicial district without permission of the court or probation officer;
2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)  the defendant shall support his or her dependants and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
    other acceptable reasons;
6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
    confiscation of any contraband observed in plain view by the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
    without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:      2:11CR00096                                              Judgment - Page 4 of 6
DEFENDANT:        DIANA HERNANDEZ-GONZALEZ

                                 SPECIAL CONDITIONS OF SUPERVISION

      1.   The defendant shall submit to the search of her person, property, home, and vehicle by a United
           States probation officer, or any other authorized person under the immediate and personal
           supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
           Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
           residents that the premises may be subject to searches pursuant to this condition.

      2.   The defendant shall provide the probation officer with access to any requested financial
           information.

      3.   The defendant shall not possess or have access to any paging device or cellular phone without
           the advance permission of the probation officer. The defendant shall provide all billing records
           for such devices, whether used for business or personal, to the probation officer upon request.

      4.    As directed by the probation officer, the defendant shall participate in a program of outpatient
           mental health treatment.

      5.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
           treatment or testing and shall make payment directly to the vendor under contract with the
           United States Probation Office of up to $25 per month.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                    2:11CR00096                                                                                     Judgment - Page 5 of 6
DEFENDANT:                      DIANA HERNANDEZ-GONZALEZ

                                                   CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                        Assessment                        Fine                       Restitution
       Totals:                                            $ 100                            $                            $


[ ] The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will
    be entered after such determination.

[ ] The defendant must make restitution (including community restitution) to the following payees in the amount listed
    below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
       § 3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                           Total Loss*                Restitution Ordered          Priority or Percentage


       TOTALS:                                              $                             $



[]     Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is
    paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
    payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §
    3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                   [ ] fine              [ ] restitution

       [ ] The interest requirement for the                     [ ] fine [ ] restitution is modified as follows:




[ ] If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[ ] If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.


  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                   2:11CR00096                                                                      Judgment - Page 6 of 6
DEFENDANT:                     DIANA HERNANDEZ-GONZALEZ
                                                             SCHEDULE OF PAYMENTS



      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $                 due immediately, balance due

          []         not later than , or
          []         in accordance with             [ ] C, [ ] D, [ ] E, or    [ ] F below; or

B     [U]            Payment to begin immediately (may be combined with         [ ] C,           [ ] D, or [ ] F below); or

C     [ ] Payment in equal     (e.g., weekly, monthly, quarterly) installments of $ over a period of                (e.g., months
          or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of    (e.g., months
          or years), to commence      (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [ ] Payment during the term of supervised release will commence within    (e.g., 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability
          to pay at that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[ ] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[ ] The defendant shall pay the cost of prosecution.

[ ] The defendant shall pay the following court cost(s):

[ ] The defendant shall forfeit the defendant’s interest in the following property to the United States:
